           Case 2:16-cv-00304-JNP Document 217 Filed 10/29/18 Page 1 of 1
Appellate Case: 17-4014 Document: 010110074672 Date Filed: 10/29/2018 Page: 1
                                                                           FILED
                                                               United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                 Tenth Circuit

                                        FOR THE TENTH CIRCUIT                            October 29, 2018
                                    _________________________________
                                                                                        Elisabeth A. Shumaker
   UNITED STATES OF AMERICA EX REL.                                                         Clerk of Court
   GERALD POLUKOFF,

          Plaintiff - Appellant,

   v.                                                                     No. 17-4014

   ST. MARK'S HOSPITAL, et al.,

          Defendants - Appellees,

   and

   HCA, INC., a/k/a HCA,

          Defendant.

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   UNITED STATES OF AMERICA,

          Amicus Curiae and Intervenor.
                             _________________________________

                                                 ORDER
                                    _________________________________

          Appellant’s petition for rehearing is denied.

          The petition for rehearing en banc was transmitted to all of the judges of the court who

  are in regular active service. As no member of the panel and no judge in regular active service

  on the court requested that the court be polled, that petition is also denied.


                                                     Entered for the Court



                                                     ELISABETH A. SHUMAKER, Clerk
